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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION
     OHIO A. PHILIP RANDOLPH                   ) Case No. 1:18-cv-357
     INSTUTUTE, et al.                         )
                                               ) NOTICE OF CHANGE OF
                 Plaintiffs,                   ) ADDRESS
                                               )
     v.                                        ) Judge Timothy S. Black
                                               ) Judge Karen Nelson Moore
     LARRY HOUSEHOLDER, Speaker of             ) Judge Michael H. Watson
     the Ohio House of Representatives, et al. ) Magistrate Judge Karen L. Litkovitz
                                               )
                 Defendants.                   )

    TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

            The undersigned counsel for Legislative Defendants in the above-captioned matter, having
    previously entered an appearance in this action, hereby give notice to the Court and to all parties
    of record of the change in counsel’s office address, as indicated below:

                          PHILLIP J. STRACH (phil.strach@ogletree.com)
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          The undersigned respectfully requests that the Clerk of the Court and counsel of record
    make note of this change on their service lists.

    DATED: January 27, 2020                     OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

                                                 /s/ Alyssa M. Riggins

                                                 Phillip J. Strach
                                                 Michael D. McKnight
                                                 Brodie D. Erwin
                                                 Alyssa M. Riggins
                                                 Counsel for Legislative Defendants
